
32 N.Y.2d 773 (1973)
Iris Oakley, as Mother and Natural Guardian of Steven Oakley, an Infant, et al., Appellants,
v.
State of New York, Respondent. (Claim No. 50194.)
Court of Appeals of the State of New York.
Argued March 13, 1973.
Decided May 2, 1973.
Milton Strassberg for appellants.
Louis J. Lefkowitz, Attorney-General (Jeremiah Jochnowitz and Ruth Kessler Toch of counsel), for respondent.
Concur: Chief Judge FULD and Judges BREITEL, JASEN and JONES. Judges BURKE, GABRIELLI and WACHTLER dissent and vote to reverse on the dissenting opinion at the Appellate Division.
Order affirmed, without costs; no opinion.
